                                Case 17-21464            Doc 66       Filed 03/31/18            Page 1 of 2
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 17-21464-NVA
Edward W. Foster, Jr.                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-1                  User: tmeany                       Page 1 of 1                          Date Rcvd: Mar 29, 2018
                                      Form ID: defntc                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 31, 2018.
db             +Edward W. Foster, Jr.,   1311 Birch Av,   Halethorpe, MD 21227-2626

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 31, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 29, 2018 at the address(es) listed below:
              Jeffrey P. Nesson    nessonbankrp@aol.com, mdbkcourt@gmail.com,r46096@notify.bestcase.com
              Kristine D Brown    ecf@logs.com
              Nancy Spencer Grigsby     grigsbyecf@ch13md.com
              Renee O. Dyson    ecf@logs.com
              William M. Savage    ecf@logs.com, bsavage@logs.com
                                                                                            TOTAL: 5
                              Case 17-21464        Doc 66      Filed 03/31/18      Page 2 of 2
                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                     In re:   Case No.: 17−21464 − NVA        Chapter: 13

Edward W. Foster Jr.
Debtor


                                              DEFICIENCY NOTICE
DOCUMENT:                  62 − Second Amended Chapter 13 Plan. Amount of Payments per Month: $1800/1150/1400,
                           Number of Months:4/3/53, Filed by Edward W. Foster Jr.. (Attachments: # 1 Certificate of
                           Service)(Nesson, Jeffrey)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 4/12/18.
                           The certificate of service did not list names & addresses of parties served.

CURE:                      An AMENDED Certificate of Service on the above pleading must be filed. (Local Bankruptcy
                           Rule 7005−2). Include the names and addresses of all parties served or attach a copy of the
                           mailing matrix.


CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.

Sample Certificate of Service: http://www.mdb.uscourts.gov/sites/default/files/FORMS−COS.pdf.
Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 3/29/18
                                                                Mark A. Neal, Clerk of Court
                                                                by Deputy Clerk, Tammy Meany
                                                                410−962−4434
cc:    Debtor
       Attorney for Debtor − Jeffrey P. Nesson
       Trustee

defntc (rev. 12/12/2016)
